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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
District District of United States

Case Number: 2:18-CV-01717-
RFP-PAL

Plaintiff:
Duke Thomas Nguyen

vs.

Defendant:
PTS of America, LLC a foreign limited liability company, The State
of Nevada, et al

For:

CCPS

720 E Charleston Blvd Sulte 135
Las Vegas, NV 89104

Received by CCPS on the 1st day of August, 2019 at 7:26 am to be served on Michael Coleman c/o
Cogency Global Inc, 321 W Winniw Lane #104, Carson City, NV 89703.

1, Mitchell Siegel, do hereby affirm that on the ist day of August, 2019 at 8:08 am, I:

SUBSTITUTE served by delivering a true copy of the Summons in a Civil Action and Complaint with
Exhibits with the date and hour of service endorsed thereon by me, to: Susan Coleman as
Spouse/Coresident at the address of: 7132 Copperfield Circle, Lake Worth, FL. 33467, the within
named person's usual place of Abode, who resides therein, who is fifteen (15) years of age or alder and
informed said person of the contents therein, in compliance with state statutes.

Additional Information pertaining to this Service:
7/31/19 607pm Camera up BLYST Ford Truck in drive, no answer to knock neighbor says ‘big Mike’
resides

Description of Person Served: Age: 50, Sex: F, Race/Skin Color: Black, Height: 5'5, Weight: 240, Hair:
Black, Glasses: N

 
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| certify that | am over the age of 18, have no interest in the above action, . Under penalties of perjury, |
declare | have read the foregoing document and the facts stated in it are true. NO NOTARY
REQUIRED PURSUANT TO F.S. 92.525 (2).

Mitehetl Siegel
Certified Process Server #1270

CCcPS

720 E Charleston Blvd Suite 135
Las Vegas, NV 89104

(702) 387-0151

Our Job Serial Number: ABL-2019103774
Ref: Coleman

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